Case 4:17-cv-13292-LVP-EAS ECF No. 208, PageID.6370 Filed 03/18/22 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

AFT MICHIGAN,

       Plaintiff,

v.                                                      Civil Case No. 17-13292
                                                        Honorable Linda V. Parker
PROJECT VERITAS and
MARISA L. JORGE,

      Defendants.
________________________/

     ORDER FOR IN CAMERA REVIEW OF DOCUMENTS RELATED TO
                DEFENDANTS’ MOTION TO COMPEL

       On April 29, 2020, Defendants filed a motion to compel Plaintiff’s production of

documents that Plaintiff asserts are protected by attorney-client privilege and work

product privileges. (ECF No. 130.) This Court referred the motion to Magistrate Judge

Elizabeth A. Stafford. (ECF No. 132.) After reviewing the documents in camera,

Magistrate Judge Stafford concluded that the documents are protected and, therefore,

denied the motion. (ECF No. 152.) Defendants filed objections to the decision (ECF No.

157), which are fully briefed (ECF Nos. 160, 166) and remain pending before the Court.

In order to address Defendants’ objections, this Court also must review the relevant

documents.

       Therefore, on or before March 25, 2022, Plaintiff is ORDERED to submit to the

Court the documents for in camera review. The documents should be emailed to the
Case 4:17-cv-13292-LVP-EAS ECF No. 208, PageID.6371 Filed 03/18/22 Page 2 of 2




Court’s Case Manager at aaron_flanigan@mied.uscourts.gov.

      IT IS SO ORDERED.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE
 Dated: March 18, 2022




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